                  Case 1:08-cr-00168-JRH-BKE Document 509 Filed 10/14/15 Page 1 of 1
AO 24r (10/l l) OrderRegaJdins                       Punualtto 18U S C $ 3582(cX2)
                                             Reduction
                            Morionfor Sentence                                                                               2 Not for lublic Disclosure)



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                                                           SouthemDistrict of Georgia
                                                                 AugustaDivision
                    United Statesof America


                     Kevin Demetrius Smith

Date of Original Judgment:
Dateof PreviousAmendedJudgment:Not Applicable
                                             Ocrober13.2009
                                                                              CaseNo: l:08CR00168-3
                                                                              USMNo: 13958-021
                                                                              Jeffrev P, Manciagli
                                                                                        Atlorney
                                                                              Defendant's
                                                                                                    ",'='i'&*
(Lse Date of Last Amended Judgment iI Anf)


                     Order Regarding Motion for SentenceReduction Pursuant to 18 U'S.C. $ 3582(c)(2)

        Upon motion of !the defendantIth"            Dire"to. of the Bureauof Prisonslfl the cout under l8 U.S.C.
$ 3582(c)(2) for a reduction in the terrn of imprisonment  imposedbasedon a guideline sentencingrangethat has
subsequently  been  lowered and  made  retroactive by the United  StatesSentencingCommission pursuantto 28 U S.C.
g 99a(u), and having consideredsuch motion, and taking into accountthe policy statementset forth at USSG $ 1B1.10 and
the sentencingfactors set fofth in l8 U.S.C. $ 3553(a),to the extent that they are applicable,
IT IS ORDERED that the motion rs:
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                                                                                      rcflected
 f, OEfVIEO. ! CneNfEO and the defendant'spreviously imposed sentenceof imprisonment1or
               ssue4 of        monthsis reducedto


                                             (CompleteParts I and II of Page 2 when motion is granted)




Except as otherwiseprovided above,all provisions ofthejudgment dated
IT IS SO ORDERED.

orderDate:              /oy'vt^ott-            -


                                                                              J. RandalHall
Effective Date:                                                               United StatesDistrict Judge
                      (if dilJbrentJion order date)                                           Print"dno^" ondliil-
